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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION




UNITED STATES OF AMERICA,

                       Plaintiff,                      Case No. 2:12-cr-36-03

v.                                                     HON. ROBERT HOLMES BELL

JUSTIN CARL SAARI,

                  Defendant.
____________________________________/


                            REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH . L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on April 30, 2013, after receiving the written consent of defendant and all counsel. At the

hearing, defendant JUSTIN CARL SAARI entered a plea of guilty to the One Count Superseding

Felony Information, charging defendant with Conspiracy to Manufacture, Distribute and Possess

with Intent to Distribute Methamphetamine in violation of 21 U.S.C. §§ 846 and 841(a)(1), in

exchange for the undertakings made by the government in the written plea agreement. On the basis

of the record made at the hearing, I find that defendant is fully capable and competent to enter an

informed plea; that the plea is made knowingly and with full understanding of each of the rights

waived by defendant; that it is made voluntarily and free from any force, threats, or promises, apart

from the promises in the plea agreement; that the defendant understands the nature of the charge and

penalties provided by law; and that the plea has a sufficient basis in fact.
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               I therefore recommend that defendant's plea of guilty to the One Count Superseding

Felony Information be accepted, that the court adjudicate defendant guilty, and that the written plea

agreement be considered for acceptance at the time of sentencing. It is further recommended that

defendant remain detained pending sentencing. Acceptance of the plea, adjudication of guilt,

acceptance of the plea agreement, determination of defendant's status pending sentencing, and

imposition of sentence are specifically reserved for the district judge.



Date: May 1, 2013                                      /s/ Timothy P. Greeley
                                                      TIMOTHY P. GREELEY
                                                      United States Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than fourteen days after the plea hearing. See
W.D. MICH . L.CR.R. 11.1(d).




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